Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 1 of 16 PagelD# 119

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA,

v.
Case No. 1:16-mj-63-MSN

NISREEN ASSAD IBRAHIM BAHAR,
a/k/a “Umm Sayyaf,”
Defendant.

ea nd i ll

MEMORANDUM OF LAW IN SUPPORT OF
CERTAIN MOVANTS’ UNOPPOSED MOTION TO PROCEED UNDER PSEUDONYM
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 2 of 16 PagelD# 120

 

 

 

TABLE OF CONTENTS
Page
I. INTRODUCTION AND BACKGROUND 1
II. LEGAL STANDARD 2
Ill. ARGUMENT 3
A. The Jacobson Factors Overwhelmingly Weigh in Favor of Permitting the
Movants to Proceed Under Pseudonyim............scscscssssssscssssessessssssereesensssnesssersensnseeneene 3
1. The Movants’ Enslavement by the Defendant, and the Crimes the
Defendant Committed Against Them, is of a Highly Personal and
Sensitive Nature........cccscsscsccssseccecesecscceceseesstsetseneccserssesessessessessesseosseseeeesenseseesnenees 4
2. Disclosing the Movants’ Identities Creates a Risk of Serious Physical
Harm 00... eeeccsccssecetccesseeseonenncoseessesseesssneessessssssecseesesesssnesesuseusnses peessensnasarsscesseneesess 5
3. The Four Movants Were Minors at the Time of the Crimes...........csssssserssseeseeee 7
4. The Government is the Opposing Party in this Action... .cceesesssssesseeeeeneenees 8
5. Allowing the Movants to Proceed Anonymously Risks No Unfairness to
the Government or the Defendant... ccccsscssssesesrsssssssssssessssssssseneeserereerensees 10

 

IV. CONCLUSION 11
Case 1:16-mj-O0063-MSN Document 17 Filed 04/22/21 Page 3 of 16 PagelD# 121

TABLE OF AUTHORITIES
CASES

A.D. v. Wyndham Hotels & Resorts, Inc.,

2020 WL 5269758 (E.D. Va. Mar. 20, 2020)... cseesssssccsscsessssssssassessesersccesesssesensseareceesees 4,5
Candidate No. 452207 v. CFA Inst.,

42 F. Supp. 3d 804 (E.D. Va. 2012) ...escsssssssssseresssscesescsssensssessssseseeeseeescsssensnensnarasasessossesens 2,4
Doe No. 2 v. Kolko,

242 F.R.D. 193 (E.D.N.Y. 2006)... eeceseesesssssecsssssessssnesssessercocsesscssssessssssssesseeneessasneneesasees 7
Doe v. Alger,

317 F.R.D. 37 (W.D. Va. 2016)... esssscsscsscsssescssnssesssesssssscessssceseserserseressncesseeesseesneneey 8, 8, 10
Doe v. Cabrera,

307 F.R.D. 1 (D.D.C. 2014)..........sssescecssceeseessessesenscscssssssssssessessnssersssnesssssecassessenscesssenseseuseeesees 5
Dee v. Fowler,

2018 WL 3428150 (W.D.N.C. July 16, 2018)... ccettccecsctcstseccccssssscsccccerssseeesseesessesersas 7
Dee v. Frank,

951 F.2d 320 (1 1th Cir. 1992). 0... cessscsssssscssssscecssssssceescesscsssssccecsssccascessaecossessssnsssssseseeenants 10
Doe v. Penzato,

2011 WL 1833007 (N.D. Cal. May 13, 2011)... eeeseeseecccececsceeeecesssessssssesssceesnsnsstenseeenes 4
Doe v. Pittsylvania Cty., Va.,

844 F. Supp. 2d 724 (W.D. Va. 2012) ....sssssssssssssssesessssesessssssnsnssnsnssncsesncsnssessneenenseneneeatensensney 9
Dee v. Pub. Citizen,

749 F.3d 246 (Ath Cir. 2014) oo... .ccssssccsssesseesssssesseesecsccsseesssssscsassnccssssaccsscecsssesnscersssasnssaaqaas 2,9
Doe v. The Rector & Visitors of George Mason Univ.,

179 F. Supp. 3d 583 (E.D. Va. 2016) 0... ce eesscessscssceccecsecessecsececsecscceceecncsecsceceseessessoesusees 4,7,9
Doe v. United States Dep’t of State,

2015 WL 9647660 (D.D.C. Nov. 3, 2015) cc cccccescescsecssscssscesceeccenseccereseresasessessesensnaseasens 6,9
E.E.O.C. v. Spoa, LLC,

2013 WL 5634337 (D. Md. Oct. 15, 2013) .......ccsccssesseesssssssseeccesseeccsceecersnssstesssenecenseneeesenssns 4

Int'l Refugee Assistance Project v. Trump,
2017 WL 818255 (D. Md. Mar. 1, 2017)... ee eeecceeeecceecnceeeeescoeeeeeesecesessesansetsensseaceeees 8,9

James v. Jacobson,
6 F.3d 233 (4th Cir, 1993) eee esssssscessssssceccssccescencesescssceccscsssessesssussescarsesssssssnsossseesons passim
Case 1:16-mj-O0063-MSN Document 17 Filed 04/22/21 Page 4 of 16 PagelD# 122

Roe v. Doe,

319 F. Supp. 3d 422 (D.D.C. 2018)... sssssessscessssssssssscseeeceeeesssesesseesessesceseesseeneneseacessanenses 8, 10
United States v. Bell,

2020 WL 7041182 (E.D. Mich. Dec. 1, 2020) 0.0... cesesseseesssecescesesscessenseserseeseaesneersneaes 3, 11

United States v. Gakhal,
2015 WL 5559852 (N.D. TIL. Sept. 17, 2015) on... eseesssssesecescsesssseeenenseressseseenseeseseeneaeees 3,11

United States v. Kaufman,
2005 WL 2648070 (D. Kan. Oct. 17, 2005) ...........csccssssssseesstssssssssesssscssssessenesssensesserenenseseenenes 9

United States v. Torres,
2020 WL 4500046 (D.N.J. Aug. 5, 2020) ..ccccsssscsssssessssseessssssccsotstsrsessssssesssessenesseensenenes 3, 11

United States v. Tsethlikai,
2018 WL 3801248 (D.N.M. Aug. 9, 2018) 2... eesesessessssescnetsessesesssssnsscessseesessensassesaees 3, 11

United States v. Turner,
367 F. Supp. 2d 319 (E.D.N.Y. 2005) ......csessssssssesscesesssssessssscsessssssnenessssssssesssssssssasasstsesesseneay I]

STATUTES

1B U.S.C. § 377 Loeccssscssssessssssesecessscsseccscscessssscensscasessssssscscesceseesssessscscassseesacscsseessassessasusssusesnseesaesees 1
18 U.S.C. § 3771 (a)(8)....cscsssssssccccscsceccsessesssessecscecesnscesscencssscsesscesescerscsseecscesescessasussssasessusennveses 9,10
18 U.S.C. § 3771 (D)(1) «0... eee eceeeceesceeceescesesonscsssestensccacsesssessssssesecesscececennseceesevareaseesseeneesennnanseees 11
OTHER AUTHORITIES

Lead Inspector General, Quarterly Report to the United States Congress for Operation Inherent

Resolve (Feb. 5, 2021) ....ccscsssssseecssccesssssceeccecccscseccsesssessssssacseacssessssnenssssssosssscssssosscesesessonsenseees 7
UN Human Rights Council, “They Came to Destroy”: ISIS Crimes Against the Yazidis, U.N.
DOC. A/HRC/32/CRP.2, June 15, 2016... .sscscesssecsssecsscsscsersnscesensesssoesssessoesesseseesessnsenseeess 5
RULES
Fed. R. Civ. P. 10(a) ct scsssecscsscsssscssescsenscsscssescssencesessesessessessssessnsossesossosossosesssesassesseuassessnseuseses® 2

ili
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 5 of 16 PagelD# 123

I, INTRODUCTION AND BACKGROUND

Mary Roe, Mary Roe II, Mary Roe III, and Mary Roe VI (collectively, the “Movants”)! are
Iraqi nationals of the Yazidi faith and survivors of the systemic human rights abuses perpetrated
by the Islamic State of Iraq and the Levant (“ISIL”). As described in their Motion to Enforce
Movants’ Rights Under the Crime Victims’ Rights Act (the “CVRA Motion”), filed concurrently
herewith, the Movants have collectively endured brutal physical, mental, and/or sexual violence
while enslaved by the Defendant Nisreen Assad Ibrahim Bahar (“Umm Sayyaf” or “Defendant”)
and her husband, Abu Sayyaf al-Iraqi, a senior ISIL leader, as part of the ISIL practice of enslaving
women and children. In early 2016, the U.S. Government charged the Defendant for knowingly
conspiring to provide material support to ISIL. Dkt. 1. The Movants, who were all minors at the
time these events transpired, are victims of the Defendant’s crimes and are entitled to the rights
and protections afforded by the Crime Victims’ Rights Act (““CVRA”), 18 U.S.C. § 3771.

The Movants request to file their CVRA Motion under pseudonyms and to proceed
anonymously in these proceedings.2 As victims seeking justice for the horrific atrocities
committed against them and other Yazidi women and girls by the Defendant and ISIL, the Movants
and their families are likely to face serious threats of physical harm or even death should their

participation in this case be made public. Although ISIL does not presently occupy large areas of

 

' One Movant to the CVRA Motion, Nasima Avdo Saleh, has chosen to pursue her CVRA rights
publicly and is not a party to this Pseudonym Motion. Ms. Saleh, who was 38 years old at the
time of the Defendant’s crimes against her, is seeking to enforce her CVRA rights on behalf
of herself as well as her daughter, Inas Alias Hussein, who is also a victim of the Defendant’s
crimes. Inas remains missing, and Ms. Saleh and her family continue to search for her. As of
late 2020, Ms. Saleh and her family received information that Inas was alive and continuing to
be held captive by ISIL militants.

2 If the Court determines it is relevant and necessary for the determination of the Movants’
Motions, the Movants would consider disclosing their identities only to this Court and to
relevant representatives of the U.S. Government.
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 6 of 16 PagelD# 124

physical territory, the group continues to carry out deadly attacks in Northern Iraq and threaten the
Yazidis—a community ISIL has vowed to destroy. In light of these extraordinary circumstances,
this Court should grant the Movants’ unopposed motion to proceed under pseudonyms (the

“Pseudonym Motion”).

II. LEGAL STANDARD

“The Federal Rules of Civil Procedure require that the identities of the parties to a case be
disclosed.” Doe v. Pub. Citizen, 749 F.3d 246, 273 (4th Cir. 2014); see also Fed. R. Civ. P. 10(a).
While this is considered a “vital component of the courts’ facilitation of public access and public
scrutiny of judicial proceedings,” Candidate No. 452207 v. CFA Inst., 42 F. Supp. 3d 804, 807
(E.D. Va. 2012), courts in the Fourth Circuit have discretion to dispense with the disclosure
requirement where “compelling concerns relating to personal privacy or confidentiality” are
present. Pub. Citizen, 749 F.3d at 273. In determining whether a party may proceed under a
pseudonym, courts have “an independent obligation to ensure that extraordinary circumstances
support such a request by balancing the party’s stated interest in anonymity against the public’s
interest in openness and any prejudice that anonymity would pose to the opposing party.” Jd. at
274.

The Fourth Circuit has identified several non-exhaustive factors to guide a court’s exercise
of its discretion when ruling on an anonymity request. See James y. Jacobson, 6 F.3d 233, 238
(4th Cir. 1993). These non-exclusive factors include: (1) whether the justification asserted by the
requesting party is merely to avoid the annoyance and criticism that may attend any litigation, or
is to preserve privacy in a matter of sensitive and highly personal nature; (2) whether identification
poses a risk of retaliatory physical or mental harm to the requesting party or even more critically,

to innocent non-parties; (3) the ages of the persons whose privacy interests are sought to be
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 7 of 16 PagelD# 125

protected; (4) whether the action is against a governmental or private party; and (5) the risk of
unfairness to the opposing party from allowing an action against it to proceed anonymously. Jd.
Applying these factors, courts in other circuits have regularly allowed victims pursuing
their CVRA rights to proceed anonymously, especially in circumstances where they were the
victims of sex crimes, as the Movants were through the actions of the Defendant. See, e.g., United
States v. Torres, 2020 WL 4500046, at *5 (D.N.J. Aug. 5, 2020); United States v. Tsethlikai, 2018
WL 3801248, at *2 (D.N.M. Aug. 9, 2018); United States v. Gakhal, 2015 WL 5559852 (N.D. Il.
Sept. 17, 2015); United States v. Turner, 367 F. Supp. 2d 319, 338 (E.D.N.Y. 2005); United States

v. Bell, 2020 WL 7041182, at *3 (E.D. Mich. Dec. 1, 2020).

Ill. ARGUMENT

A. The Jacobson Factors Overwhelmingly Weigh in Favor of Permitting the Movants
to Proceed Under Pseudonym

The Jacobson factors establish that allowing the Movants to proceed anonymously is
appropriate in this case: (1) the Movants’ enslavement by the Defendant and the sexual, physical,
and psychological crimes she committed against them is highly sensitive and personal in nature;
(2) the Movants have a well-founded fear that their identification poses a risk of retaliatory
physical or mental harm to themselves and their families; (3) the Movants were all minors at the
time the Defendant committed her crimes against them, including facilitating acts of sexual
violence; (4) the Government is the opposing party to this proceeding; and (5) there is no risk of
unfairness to either the Government nor the Defendant by allowing the Movants to proceed

anonymously.
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 8 of 16 PagelD# 126

1. The Movants’ Enslavement by the Defendant, and the Crimes the Defendant
Committed Against Them, is of a Highly Personal and Sensitive Nature

The nature and specific details of the Movants’ captivity by the Defendant and her husband,
and the crimes they committed against them, are “matter[s] of a sensitive and highly personal
nature” and weigh in favor of allowing them to proceed using a pseudonym. In filing their CVRA
Motion, the Movants must recount their traumatic experiences as the Defendant and her husband’s
slaves where they were regularly trafficked to other ISIL members and endured unimaginable
physical, sexual, and psychological violence.

These abhorrent forms of violence are precisely the subject matters of the “utmost
intimacy” where “the normal practice of disclosing the parties’ identities yields to a policy of
protecting privacy in a very private matter.” A.D. v. Wyndham Hotels & Resorts, Inc., 2020 WL
5269758, at *2 (E.D. Va. Mar. 20, 2020) (quoting Candidate No. 452207 v. CFA Inst., 42 F. Supp.
3d 804, 807 (E.D. Va. 2012)); see also Doe v. The Rector & Visitors of George Mason Univ., 179
F, Supp. 3d 583 (E.D. Va. 2016) (finding that allegations of sexual assault against the plaintiff
were of a nature “sufficiently severe to rise to the level of an ‘extraordinary circumstance’ in
support of a pseudonym”); Doe v. Penzato, 2011 WL 1833007, at *3 (N.D. Cal. May 13, 2011)
(granting a motion to proceed under pseudonym where the “litigation involves matters of ‘a highly
sensitive and personal nature’ to [plaintiff], ‘including the emotional and psychological impact of
being a victim of human trafficking and sexual battery” and “publication of her name would open
her to inquiries from the press and other interested individuals, and that her ability to recover from
her trauma would thus be compromised.”); E.E.0.C. v. Spoa, LLC, 2013 WL 5634337, at *3 (D.
Md. Oct. 15, 2013) (finding matters involving sexual assault are of a “highly sensitive and personal

nature”).
Case 1:16-mj-O0063-MSN Document 17 Filed 04/22/21 Page 9 of 16 PagelD# 127

Protecting the identities of the Movants is critical to ensuring that other survivors of sexual
violence and human trafficking feel safe to come forward with their claims. See Doe v. Cabrera,
307 F.R.D. 1, 6 (D.D.C. 2014) (internal quotations omitted) (recognizing a “strong [public] interest
in protecting the identities of sexual assault victims so that other victims will not be deterred from
reporting such crimes.”). Given the nature of the events detailed in the CVRA Motion, the first

Jacobson factor weighs firmly in favor of granting the Movants’ Pseudonym Motion.

2. Disclosing the Movants’ Identities Creates a Risk of Serious Physical Harm

In accordance with the second Jacobson factor, the Movants have a well-founded fear that
if their identities are disclosed, they or their families will face near-certain threats of physical
violence and even death by ISIL members, including the Defendant and her family members or
affiliates. This fear could not be more justified or credible. ISIL’s genocidal campaign to destroy
the Yazidi population through mass murder and enslavement of women and children has been
meticulously documented by the international community and recognized as amounting to
“genocide” by the U.S. Government. The Movants are among thousands of Yazidi women and
girls who were subjected to ISIL’s practices of sexual violence and enslavement.

Courts within this circuit and others have permitted plaintiffs to proceed via pseudonym in
instances where “identification poses a risk of retaliatory physical or mental harm to the requesting
party or... to innocent non-parties.” Jacobson, 6 F.3d 233 at 238; see also Wyndham Hotels &

Resorts, Inc., 2020 WL 5269758, at *2 (finding sex trafficking victim faced retaliatory threats of

 

3 See, e.g, UN Human Rights Council, “They Came to Destroy”: ISIS Crimes Against the
Yazidis, U.N. DOC. A/HRC/32/CRP.2, June 15, 2016; U.S. Department of State, Secretary of
State John Kerry, Remarks on Daesh and Genocide, Mar. 17, 2016, at 1, available at
https://2009-2017.state.gov/secretary/remarks/2016/03/254782.htm. See also concurrently-
filed Memorandum of Law in Support of Motion to Enforce the Movants’ Rights Under the
Crime Victims’ Rights Act, Section I.
Case 1:16-mj-O0063-MSN Document 17 Filed 04/22/21 Page 10 of 16 PagelD# 128

physical harm by her trafficker and may also suffer mental and emotional harm due to the stigma
associated with sex work). In Doe v. United States Department of State, the district court permitted
an Iraqi plaintiff engaged in U.S.-led reconstruction efforts in Iraq to file his complaint under a
pseudonym. 2015 WL 9647660, at *1 (D.D.C. Nov. 3, 2015). The court reasoned that preserving
anonymity meant “protecting Doe and innocent family members from retaliation and a legitimate
fear of violence and death at the hands of those who have targeted Iraqis who have provided
assistance to the U.S. [g]overnment.” Jd. at *3 (internal quotations omitted).

Here, too, the Movants face extraordinary personal risk to themselves and their families
which necessitates proceeding under a pseudonym. In particular, the Movants here request formal
recognition as crime victims ina U.S. criminal case against an ISIL member, and public disclosure
of their participation would compromise the safety of the Movants and their families. Moreover,
as explained in the CVRA Motion, the Movants do not have clarity regarding the length or the
Defendant’s sentence nor the stability of the KRG’s custody of her given the dynamic nature of
the region’s political and security situation. Even assuming the Defendant is not an immediate
threat, the Movants are especially vulnerable to reprisals by ISIL members, including any family
members or affiliates of the Defendant, by publicly participating in this case.‘ ISIL continues to
commit regular terrorist attacks in Northern Iraq, where some of the Movants reside, continues to

coordinate trafficking and enslavement of Yazidi women worldwide, and maintains a vast network

 

4 See, e.g., Jane Arraf and Falih Hassan, U.S. Airstrike Kills Top ISIS Leader in Iraq, N.Y. TIMES,
Jan. 29, 2021, available at https://www.nytimes.com/2021/01/29/world/middleeast/us-
airstrike-kills-top-isis-leader-in-iraq.html (“The Islamic State no longer holds territory in Iraq
but has continued to carry out deadly attacks.”); Alissa J. Rubin, Lara Jakes, and Eric Schmitt,
ISIS Attacks Surge in Iraq Amid Debate on U.S. Troop Levels, N.Y. TIMES, June 10, 2020,
available at __https:/Awww.nytimes.com/2020/06/10/world/middleeast/iraq-isis-strategic-
dialogue-troops.html (“This is the Islamic State in Iraq in 2020: low-tech, low-cost, rural, but
still lethal.”).
Case 1:16-mj-00063-MSN Document 17 Filed 04/22/21 Page 11 of 16 PagelD# 129

of associates globally.’ Keeping the Movants’ identities protected is a matter of life or death, and

the second Jacobson factor strongly weighs in favor of anonymity here.

3. The Four Movants Were Minors at the Time of the Crimes

The third Jacobson factor considers “the ages of the persons whose privacy interests are
sought to be protected.” Jacobson, 6 F.3d 233 at 238. Recently, a court in this district considered
not only the current ages of the parties to the litigation but also their ages during the events at issue
in determining how to weigh this factor. See The Rector & Visitors of George Mason Univ., 179
F. Supp. 3d at 594. The public interest in preserving parties’ privacy and allowing them to proceed
anonymously is even more pronounced in cases involving allegations of child sexual abuse. See
Doe v. Fowler, 2018 WL 3428150, at *2 (W.D.N.C. July 16, 2018) (allowing adult victim of child
sexual exploitation to proceed by pseudonym and noting the “severe psychological harm” unique
to such circumstances); Doe No. 2 v. Kolko, 242 F.R.D. 193 (E.D.N.Y. 2006) (finding adult
plaintiff who alleged sexual abuse by Rabbi as a minor was entitled to proceed by pseudonym).

Here, the Movants seeking to proceed by pseudonym are all under the age of 25, and their
ages ranged from 13 to 17 years old during the underlying events detailed in their CVRA Motion,
including the acts of sexual violence. Therefore, the third Jacobson factors also weighs in favor

of anonymity.

 

5 See generally Lead Inspector General, Quarterly Report to the United States Congress for
Operation Inherent Resolve, Feb. 5, 2021, available at
https://media.defense.gov/202 1/Feb/09/2002578750/-1/-1/1/LEAD%
20INSPECTOR%20GENERAL%20FOR%200PERA TION%20INHERENT%20RESOLVE
-PDF.
Case 1:16-mj-00063-MSN Document 17 Filed 04/22/21 Page 12 of 16 PagelD# 130

4. The Government is the Opposing Party in this Action

The fourth Jacobson factor “looks at the identity of the defendant in the case and asks
whether the plaintiff is pursuing legal action against the government or a private party.” Doe v.
Alger, 317 F.R.D. 37, 41 (W.D. Va. 2016); Jacobson, 6 F.3d 233 at 238. While the Fourth Circuit
has not considered the Jacobson factors in the unique posture of crime victims asserting CVRA
recognition within a criminal case,* the Movants submit that the Government is the opposing party
relative to the relief sought by the Movants in their CVRA Motion. The Government has indicated
that it will not oppose the Movants’ Pseudonym Motion. However, regardless of whether the
Government, the Defendant, or both are to be considered opposing parties here, the factor counsels
permitting the use of pseudonyms.

When “a plaintiff challenges the government or government activity, courts are more likely
to permit plaintiffs to proceed under a pseudonym.” Doe v. Alger, 317 F.R.D. 37, 41 (W.D. Va.
2016). Courts take this approach because while “the mere filing of a lawsuit against a private party
may cause the defendant reputational and economic harm . . . the government is not vulnerable to
similar reputational harm, particularly in a case involving a challenge to the constitutional,
statutory, or regulatory validity of government activity.” Int’l Refugee Assistance Project v.
Trump, 2017 WL 818255, at *3 (D. Md. Mar. 1, 2017). This reasoning is particularly salient here,
where the Department of Justice is in possession of the information sought by the Movants in the

CVRA Motion. The Movants’ challenge to the “government [in]Jactivity” does not leave the

 

6 When analyzing this fourth factor, “the case law does not line up cleanly” in unusual contexts.
Roe v. Doe, 319 F. Supp. 3d 422, 429 (D.D.C. 2018) (denying a defendant’s request for
anonymity in a civil action concerning sexual assault). “The fourth factor is somewhat difficult
to apply . . . as precedent cases often frame it in terms of plaintiff-movants.” Id.
Case 1:16-mj-O0063-MSN Document 17 Filed 04/22/21 Page 13 of 16 PagelD# 131

Department of Justice vulnerable to “reputational and economic harm,” and the Movants’ request
for anonymity should be permitted. Int’l Refugee Assistance Project, 2017 WL 818255, at *3.

While courts have recognized the “heightened” public interest involved in litigation
involving the federal government, see Public Citizen, 749 F.3d at 274, here any heightened public
interest in this case does not weigh against allowing the Movants anonymity. First, the public
interest in this case lies in ensuring that the Government safeguards the rights of the victims.
Second, protecting the identity of the Movants will not deprive the public of its full access to any
of the litigation materials or any of the governments’ filings in the underlying criminal prosecution.
See The Rector & Visitors of George Mason Univ., 179 F. Supp. 3d 583 at 594. In proceedings
similarly involving sexual abuse and involuntary servitude, another federal court determined that
the CVRA even “require[d]” limiting “sketch artists’ activities in the courtroom[.]” United States
v. Kaufman, 2005 WL 2648070, at *4 (D. Kan. Oct. 17, 2005) (citing 18 U.S.C. § 3771(a}(8)).
Finally, “in a case against the government, the balance could be tipped by how sensitive the
plaintiff's personal information is.” United States Dep’t of State, 2015 WL 9647660, at *3. As
established above, the Movants must disclose highly personal and sensitive facts in the CVRA
Motion, which therefore tips in favor of allowing them to proceed anonymously.

The same reasoning holds even if the Defendant is considered a party in opposition to this
Pseudonym Motion or the CVRA Motion. While this factor’s analysis in civil suits requires as “a
matter of ‘[b]asic fairness’ that a private-party defendant’s accusers participate in the suit under
their real names,” Doe v. Pittsylvania Cty., Va., 844 F. Supp. 2d 724, 730 (W.D. Va. 2012), the
same logic does not follow when the harm against the victim requesting anonymity rises to the
level of criminality. Here, neither the Movants’ request for anonymity nor, for that matter, the

Movants’ request to be identified as crime victims under the CVRA invades the Defendant’s rights.
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 14 of 16 PagelD# 132

In particular, in this case, the Government has already put the Defendant’s “good name[] and
reputation” at issue. Roe v. Doe, 319 F. Supp. 3d 422, 429 (D.D.C. 2018), quoting Doe v. Frank,
951 F.2d 320, 323-24 (11th Cir. 1992).

For the reasons above, the fourth Jacobson factor therefore weighs in favor of granting the

Movants’ Pseudonym Motion (or, at worst, does not weigh against anonymity).

5. Allowing the Movants to Proceed Anonymously Risks No Unfairness to the
Government or the Defendant

Finally, “[t]he fifth [Jacobson] factor examines the risk of unfairness to the defendant from
allowing the plaintiff to proceed anonymously.” Doe v. Alger, 317 F.R.D. 37, 41 (W.D. Va. 2016).
Here, neither the Government nor the Defendant will be prejudiced by this Court allowing the
Movants to proceed anonymously. See Jacobson, 6 F.3d 233 at 238.

As noted above, the Government often faces only a minimal risk of unfairness as
“reputational harm is not at issue in a case against the federal government.” International Refugee
Assistance Project, 2017 WL 818255, at *3. Here, the Department of Justice does not need to
know the identities of the Movants in order to respond to the CVRA Motion, and the Movants
have submitted repeated requests for information to the Government through their legal counsel
and may continue to engage with the Government in this manner at this preliminary stage.
Moreover, the Government itself has indicated that it will not oppose Movants’ Pseudonym
Motion.

Precedent weighs in favor of permitting crime victims to proceed anonymously when
seeking to enforce their rights under the CVRA, even when balanced against considerations of
fairness to the criminal defendants. Importantly, the CVRA affords crime victims “[t]he right to
be treated with fairness and with respect for the victim’s dignity and privacy.” 18 U.S.C. §

3771(a)(8) (emphasis added). Indeed, “[i]n any court proceeding involving an offense against a

10
Case 1:16-mj-O0063-MSN Document 17 Filed 04/22/21 Page 15 of 16 PagelD# 133

crime victim, the court shall ensure that the crime victim is afforded the rights described in
subsection (a).” 18 U.S.C. § 3771(b)(1). Accordingly, courts have found that granting anonymity
to CVRA crime victims—especially when the movants were the victims of sex crimes—does not
cause undue prejudice against defendants. See, e.g., United States v. Torres, 2020 WL 4500046,
at *5 (D.N.J. Aug. 5, 2020) (granting a protective order protecting crime victims’ identities under
CVRA analysis, after balancing the accused’s constitutional rights); United States v. Tsethlikai,
2018 WL 3801248, at *2 (D.N.M. Aug. 9, 2018) (entering a protective order to limit defendant’s
access to discovery materials which identified the victim, citing the CVRA); United States v.
Gakhal, 2015 WL 5559852 (N.D. III. Sept. 17, 2015) (granting a protective order in reliance upon
Federal Rule of Criminal Procedure 16(d)(1) and the CVRA); United States v. Turner, 367 F.
Supp. 2d 319, 338 (E.D.N.Y. 2005) (permitting motions for CVRA recognition to be filed under
seal and even ex parte for good cause shown; acknowledging CVRA sponsors intent for a “liberal
reading” of the statute, especially (a)(8), id. at 335); Bell, 2020 WL 7041 182, at *3 (noting “pretrial
disclosures of victims’ identities would implicate victims’ rights under the [CVRA] to reasonable
protection from the accused and to be treated with respect and dignity.”).

Allowing the Movants to proceed anonymously does not cause unfairness to the
Government or the Defendant. For this reason, the fifth Jacobson factor weighs in favor of

granting the Movants’ request.

IV. CONCLUSION
For the stated reasons above, the Movants respectfully request that the Court grant their

Pseudonym Motion.

1]
Case 1:16-mj-O0063-MSN Document17 Filed 04/22/21 Page 16 of 16 PagelD# 134

Dated: April 19, 2021

By: Kethasins Navies

 

Katherine Maddox Davis (VSB 89104)

Cate Harding (pro hac vice application forthcoming)
Gibson, Dunn & Crutcher LLP

1050 Connecticut Avenue, N.W.

Washington, DC 20036

Phone: (202) 955-8587

Fax: (202) 831-6038

kdavis@gibsondunn.com
charding@gibsondunn.com

Zainab N. Ahmad
Charline O. Yim
Marryum A. Kahloon

Motions for pro hac vice admission filed herewith
Gibson, Dunn & Crutcher LLP
200 Park Avenue
New York, NY 10166
Phone: (212) 351-2609
Fax: (212) 817-9500
zahmad@gibsondunn.com
cyim@gibsondunn.com
mkahloon@gibsondunn.com

Daniel McLaughlin
Elzbieta T. Matthews
Carmen K. Cheung

Motions for pro hac vice admission filed herewith
Center for Justice & Accountability
One Hallidie Plaza, Suite 750
San Francisco, CA 94102
Phone: (415) 544-0444
Fax: (415) 544-0456
dmlaughlin@cja.org
ematthews@cja.org
ccheung@cja.org

Amal Clooney
Motion for pro hac vice admission filed herewith
53-54 Doughty Street
London, WCIN 2LS
UNITED KINGDOM
Phone: +440207474 1313
lal@doughtystreet.co.uk

Counsel for Movants Mary Roe, Mary Roe II, Mary
Roe HI and Mary Roe VI

12
